
Per curiam.
This case was remanded to the State Disciplinary Board. The Review Panel of the State Disciplinary Board renews its recommendation that Belmont be suspended from the practice of law for a period of two years, after which time she must take the Bar Examination before readmission.
We approve the recommendation of the Review Panel, with the exception of that portion of the recommendation that Belmont be required to take the Bar Examination.
We order that Valerie D. Belmont be suspended from the practice of law in Georgia for two years, and that she notify her clients of *816her suspension, and take all actions necessary to protect their interests. This order shall be effective February 1, 1989.
Decided January 19, 1989.
William P. Smith III, General Counsel State Bar, Paula J. Frederick, Assistant General Counsel State Bar, for State Bar of Georgia.

Suspended.


All the Justices concur.

